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                                                                                U.S. DISTRICT COURT E.D.N.Y.
   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
                                                                               ^       APR 2 9 2019        tSt

                                                                                  BROOKLYN OFFICE
   In re PAYMENT CARD INTERCHANGE
   FEE AND MERCHANT DISCOUNT                                       No.05-MD-01720(MKB)(JO)
   ANTITRUST LITIGATION



           STATEMENT OF OBJECTIONS OF CLASS MEMBER Herndon Oil Corp.

          Hemdon Oil Corp. (hereinafter "Company") accepted Visa and Mastercard transaction
   cards between 2004 and the present date. Company is a member of the Rule 23(b)(3) settlement
   class in this case, and it has not engaged in any other settlement ofits claims against Visa ^d/or
   Mastercard. Company hereby submits its objections to the proposed settlement preliminarily
   approved by the Court in January ofthis year.

          Company is located at 102 N. Court Square, Abbeville, AL. Company is a petroleum
   marketer engaged in the wholesale and retail sale of branded motor fuels. Since 1985, it has
   accepted Visa and Mastercard transaction cards at retail service station and convenience store
   locations. Motor fuels at these locations have been sold under the Shell,Texaco & Conoco brands
   since 2004, and the credit card transactions at each location were processed by the applicable
    branded supplier.

            Company is concerned that the Court will concur in the arguments of Defendants that
    certain major oil company branded suppliers are entitled to file claims against the settlement fund
   for transactions at retail locations where Company accepted the applicable Visa or Mastercard
    transaction cards and paid the interchange fees. Company understands that the Court has indicated
    that class counsel cannot represent both the branded suppliers and branded marketers, like
    Company, because only one of the two groups is entitled to settlement funds attributable to
    Company's retail locations. None of the class representatives were branded marketers, and
    branded marketer interests were not represented when the settlement was negotiated. Nor are they
    adequately represented now by a conflicted class counsel who are incapable of asserting branded
    marketer interests when they conflict with the interests of major oil companies.

           As of now. Company is totally in the dark as to whether, having accepted the cards and
    paid the interchange fees, it is part ofthe settlement class, whether it is entitled to a full or partial
    recovery,or whether any mechanism is in place to sort all ofthis out. Nothing in the Class Notice
    states whether Company or its branded supplier(whose fuel Company sells) have a right to recover
    for transactions at these locations. In short. Company is concerned that it is being deprived of its
    legal right to fully participate in the settlement.

           In addition to not knowing what recovery Company may be entitled to as part ofthe class
    settlement, we do not believe that proper efforts are being made to notify branded marketers, like
    Company, so that they can object to the settlement. Hemdon Oil Corp is aware that a Class
    Notice has gone out but it was not mailed a copy by the Claims Administrator. The names
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   and addresses of branded petroleum marketers, like Company, can be obtained by the Claims
   Administrator from the branded suppliers.

          Branded marketers should be informed now whether a procedural mechanism will be put
   in place to determine whether, atid to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and until these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.

                                               Respectfully submitted,

                                               Hemdon Oil Corp.


                                               By: Mike Martin
                                                     MCke^McutCn/
                                               President
